37 F.3d 1492NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    David E. BUTLER, Plaintiff Appellant,v.Richard A. LANHAM, Sr.;  Sewall B. Smith;  James C. Sanders,Defendants Appellees,andSergeant THOMAS, Co III;  Corporal Davis, Co II;  CorporalGather, Co II;  One Unknown Correctional Officer,Defendants.
    No. 93-6881.
    United States Court of Appeals, Fourth Circuit.
    Submitted October 28, 1993.Decided October 6, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-93-1079-JFM)
      David E. Butler, appellant pro se.
      John Joseph Curran, Jr., Atty. Gen., Amy Kushner Kline, Office of the Attorney General of Maryland, Baltimore, MD, for appellees.
      D.Md.
      DISMISSED.
      Before WIDENER and WILKINSON, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant appeals the district court's order dismissing some but not all Defendants in his 42 U.S.C. Sec. 1983 (1988) action.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    